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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )
                                              )                   8:09CR92
       vs.                                    )
                                              )                    ORDER
RICARDO A. FERNANDEZ,                         )
                                              )
                     Defendant.               )


       This matter is before the court on the "M OTION TO C ONTINUE T RIAL OR IN THE
A LTERNATIVE FOR A T RANSPORTATION, H OUSING AND S UBSISTENCE O RDER" (Doc. 68) filed
by defendant, Ricardo A. Fernandez.

       This case has been pending for over 13 months. The trial order was filed on April 12,
2010, upon the final resolution of the codefendant's pretrial motions. In the motion, defense
counsel states that he did not advise the defendant of the May 5, 2010 trial date until April
23, 2010, and it would be "difficult" for the defendant to return to Omaha from California
"because of Defendant's lack of funds." The defendant has not provided the affidavit or
declaration required by NECrimR 12.1(a), and the defendant has not provided a current
financial affidavit demonstrating the need for further financial assistance.

     IT IS ORDERED that the motion (Doc. 68) is denied. The case remains set for trial
on May 5, 2010 as previously ordered.

       A party may object to this order by filing an "Objection to Magistrate Judge's Order"
no later than April 28, 2010. The objecting party must comply with all requirements of
NECrimR 59.2.

       DATED April 26, 2010.

                                          BY THE COURT:

                                          s/ F.A. Gossett
                                          United States Magistrate Judge
